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                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                   *
                                            *
                     Plaintiff,             *
vs.                                         *        No. 4:12-cr-00170-SWW-1
                                            *
                                            *
CHRISTOPHER ARNOLD HOGAN,                   *
                                            *
                     Defendant.             *

                                        ORDER

      The pro se motion [doc.#131] of defendant Christopher Arnold Hogan to suppress

all evidence from both federal and state search warrants is hereby denied as Mr. Hogan is

represented by appointed counsel and this Court normally does not consider pro se

motions from defendants who are represented by counsel.


                           IT IS SO ORDERED this 25th day of March 2014.

                                                /s/Susan Webber Wright
                                                UNITED STATES DISTRICT JUDGE
